          Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                             Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.




                                      JOINT STATUS REPORT

        Pursuant to the Court’s December 7, 2020 Order (ECF No. 59), the parties have met and

conferred regarding a schedule for further proceedings in this action, and hereby submit this joint

status report.

        Plaintiffs’ preference would be for the parties to proceed to file cross-motions for summary

judgment.    Defendants, however, do not believe that proceeding to summary judgment is

appropriate at this time for four reasons:

        First, Defendants believe it would be premature, inefficient, and a waste of the parties’ and

the Court’s resources to brief summary judgment motions until the D.C. Circuit resolves

Defendants’ appeal of the first preliminary injunction entered in this case. As discussed more fully

in Defendants’ motion to stay, see ECF No. 57, the D.C. Circuit’s forthcoming decision in that

appeal will almost certainly inform this Court’s view of the merits of this case. Once the D.C.

Circuit issues its decision, any merits-related briefing by the parties or decisions by this Court in

the interim would need to be re-evaluated to ensure compliance with the D.C. Circuit’s decision.

The D.C. Circuit appeal was granted expedition, has been fully briefed, oral argument was held on
            Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 2 of 6




December 14, 2020, and the Court has now submitted the case for decision. Thus, the timeline for

the D.C. Circuit’s decision is presumably relatively soon, and Plaintiffs cannot identify any

cognizable prejudice associated with a short delay of merits proceedings to await the D.C. Circuit’s

decision.

       Second, Defendants believe that continuing with merits proceedings—in particular

summary judgment proceedings—would threaten to frustrate the D.C. Circuit’s ability to decide

the current appeal already pending before it, as well as any potential appeal of this Court’s more

recent preliminary injunction, ECF Nos. 59, 60.1 If this Court were to proceed with summary-

judgment proceedings and then enter final judgment, that could render moot either the current

preliminary-injunction appeal and/or a subsequent appeal. Cf. Cont’l Training Servs., Inc. v.

Cavazos, 893 F.2d 877, 880 (7th Cir. 1990) (“[W]here a permanent injunction has been granted

that supersedes the original preliminary injunction, ‘the interlocutory injunction becomes merged

in the final decree,’ and the appeal from the interlocutory preliminary order is properly dismissed.”

(quoting Smith v. Illinois Bell Tel. Co., 270 U.S. 587, 588 (1926), modifications omitted)).

Accordingly, proceeding with summary judgment could frustrate the D.C. Circuit’s ongoing

appeal and/or potential subsequent appeal, and threaten to deprive Defendants of their entitlement

under 28 U.S.C. § 1292(a) to obtain timely appellate review of preliminary injunctive relief.

       Third, Defendants believe it would be premature to brief summary judgment motions until

the disputes between the parties as to the appropriate scope of the factual record in this case are

resolved. Defendants’ position is that this Court’s review of Plaintiffs’ claims should be limited

to the certified Administrative Record. Plaintiffs, however, have submitted substantial extra-


1
 Pursuant to 28 C.F.R. § 0.20(b), the decision whether to appeal is vested in the Solicitor
General. The Department of Justice is in the process of determining whether to appeal this
second preliminary injunction.

                                                 2
          Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 3 of 6




record evidence in the form of declarations, including two purported expert declarations. See ECF

Nos. 15-2, 15-3, 15-4, 15-5, 43-2, 43-3, 43-4, 43-5, 43-6. Although Plaintiffs submitted these

declarations at the preliminary-injunction stage, Plaintiffs have stated that, as of now, they intend

to rely on at least some of these materials at summary judgment as well. Before summary-

judgment briefing is appropriate, then, Defendants believe that, first, the parties would need to

litigate whether Plaintiffs are permitted to rely on any of these extra-record materials; and then

second, depending on the Court’s ruling on that issue—i.e., if the Court were to allow Plaintiffs to

rely on declaration testimony from these individuals at summary judgment—Defendants would

need to determine whether any discovery (e.g., depositions of the declarants) is necessary in order

to fully oppose summary judgment. Again, litigating these ancillary issues about the status of the

record would be a substantial expenditure of the Court’s and the parties’ time and resources, which

is why Defendants believe a stay of further merits proceedings here is the more appropriate course.

       Fourth, Defendants believe it would be premature to brief summary judgment motions

until Defendants have filed their responsive pleading and, if that pleading is a motion, until the

Court has resolved that motion. Plaintiffs’ Complaint contains seven different claims, see Compl.

(ECF No. 1) ¶¶ 80-141, at least some of which Defendants believe are plainly meritless and likely

to be dismissed pursuant to Fed. R. Civ. P. 12(b). Accordingly, to the extent the Court believes

that any further merits proceedings in this case are appropriate, the appropriate next step would be

motion to dismiss briefing, which at a minimum would help refine and clarify the number of claims

and issues, if any, that remain to be decided during potential summary-judgment proceedings.

       Plaintiffs disagree with Defendants that summary judgment is premature at this stage,

particularly because Defendants’ pending appeal pertains only to the Court’s first preliminary

injunction decision and certain of the claims and legal arguments Plaintiffs have raised in this



                                                 3
         Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 4 of 6




Court. Given that Defendants apparently plan to file a motion to dismiss, however, Plaintiffs

believe that it would be most efficient for the Court and the parties to simultaneously brief

Defendants’ motion to dismiss—currently due to be filed on January 14, 2021—and summary

judgment. See, e.g., Am. Hosp. Assn. v. Dept. of Health and Human Services, CV 18-2112 (JDB),

2018 WL 5777397, at *3 (D.D.C. Nov. 2, 2018) (“The Court finds that it is in the interest of the

sound administration of judicial—and the parties’—resources to proceed with one combined

briefing schedule for plaintiffs’ summary judgment motion and any motion to dismiss or cross-

motion for summary judgment the government may file.”). Plaintiffs proposed that the parties

meet and confer, ahead of the January 14 deadline, in an effort to eliminate or narrow disputes

regarding the appropriate scope of the record so that summary judgment could be briefed at the

same time that Defendants move to dismiss.

       Subject to and without waiving any arguments as to Defendants’ position above—i.e., that

it is premature and inefficient for either party to move forward with summary judgment—

Defendants are not opposed to continuing to meet-and-confer with Plaintiffs regarding (1) what

specific extra-record evidence Plaintiffs intend to rely on during summary-judgment proceedings,

and (2) whether, in light of those discussions, the parties can reach agreement on how this case

might unfold in an efficient manner. At a minimum, those discussions would likely assist in

sharpening any disputes regarding the record such that any disputes could, if necessary, be

presented to the Court in a concrete manner. To provide a modest amount of additional time for

this meet-and-confer to occur—and in light of the intervening holidays—Defendants believe it

would be appropriate to further extend Defendants’ responsive pleading deadline until January 19,

2021, with another joint status report due to be filed on January 12, 2021, regarding whether the

parties can reach agreement on a schedule for further proceedings in this case.



                                                4
          Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 5 of 6




       Plaintiffs are willing to consent to a further extension of Defendants’ responsive pleading

deadline. Such an extension would afford the parties additional time to meet and confer in an

effort to eliminate or narrow disputes regarding the appropriate scope of the record before

dispositive motions are filed.

       Accordingly, to enable the parties to continue to meet and confer in an effort to eliminate

or narrow disputes regarding the appropriate scope of the record in advance of the filing of

dispositive motions, the parties propose that the deadline for Defendants’ responsive pleading be

continued until January 19, 2021, with a joint status report to be filed on January 12, 2021.



DATED: December 18, 2020                      Respectfully submitted,



 JEFFREY BOSSERT CLARK                         /s/ John E. Hall              .
 Acting Assistant Attorney General
                                              John E. Hall (D.C. Bar. No. 415364)
 JOHN V. COGHLAN                              Beth S. Brinkmann (D.C. Bar. No. 477771)
 Deputy Assistant Attorney General            Alexander A. Berengaut (D.C. Bar. No. 989222)
                                              Megan A. Crowley (D.C. Bar. No. 1049027)
 ALEXANDER K. HAAS                            Megan C. Keenan (D.C. Bar. No. 1672508)
 Branch Director                              COVINGTON & BURLING LLP
                                              One CityCenter
 DIANE KELLEHER                               850 Tenth Street, NW
 Assistant Branch Director                    Washington, DC 20001
                                              Telephone: +1 (202) 662-6000
 /s/ Daniel Schwei                            Facsimile: + 1 (202) 778-6000
 DANIEL SCHWEI                                Email: jhall@cov.com
 Special Counsel                                      bbrinkmann@cov.com
 SERENA M. ORLOFF                                     aberengaut@cov.com
 MICHAEL DREZNER                                      mcrowley@cov.com
 AMY E. POWELL                                        mkeenan@cov.com
 STUART J. ROBINSON
 Trial Attorneys                              Mitchell A. Kamin (Pro Hac Vice)
 United States Department of Justice          COVINGTON & BURLING LLP
 Civil Division, Federal Programs Branch      1999 Avenue of the Stars, Suite 3500
 Ben Franklin Station, P.O. Box No. 883       Los Angeles, California 90067-4643
 Washington, DC 20044                         Telephone: + 1 (424) 332-4800


                                                 5
        Case 1:20-cv-02658-CJN Document 61 Filed 12/18/20 Page 6 of 6




Phone: (202) 305-8693               Facsimile: + 1 (424) 332-4749
Fax: (202) 616-8470                 Email: mkamin@cov.com
E-mail: daniel.s.schwei@usdoj.gov
                                    Anders Linderot (Pro Hac Vice)
Counsel for Defendants              COVINGTON & BURLING LLP
                                    The New York Times Building
                                    620 Eighth Avenue
                                    New York, New York 10018-1405
                                    Telephone: +1 (212) 841-1000
                                    Facsimile: + 1 (212) 841-1010
                                    Email: alinderot@cov.com

                                    Attorneys for Plaintiffs




                                       6
